
Loretta H. Rush, Chief Justice of Indiana
On April 17, 2019, this Court ordered Respondent to show cause why Respondent should not be immediately suspended from the practice of law in this state for failure to cooperate with the Commission's investigation of a grievance, No. 19-1201 , filed against Respondent. The order required that Respondent show cause in writing within ten days of service of the order. On May 17, 2019, the Commission filed a "Request for Ruling and to Tax Costs" asserting that Respondent still has not cooperated. On May 20, 2019, Respondent belatedly filed an unverified response to the show cause order.
*1224Finding Respondent's response to this Court's show cause order inadequate and being duly advised, the Court ORDERS that Respondent be suspended from the practice of law for noncooperation with the Commission, effective immediately. Pursuant to Admission and Discipline Rule 23 (10.1)(c)(3), this suspension shall continue until the Executive Director of the Disciplinary Commission certifies to the Court that Respondent has cooperated fully with the investigation or until further order of this Court, provided there are no other suspensions then in effect. Respondent is ordered to fulfill the duties of a suspended attorney under Admission and Discipline Rule 23(26).
IT IS FURTHER ORDERED, pursuant to Admission and Discipline Rule 23 (10.1)(d), that Respondent reimburse the Disciplinary Commission $527.50 for the costs of prosecuting this proceeding.
All Justices concur.
